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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF ALABAMA
                                SOUTHERN DIVISION

UNITED STATES OF AMERICA                     )
                                             )
v.                                           ) CRIMINAL NO. 24-CR-00114-TFM
                                             )
CEDRIC DARNELL WILLIAMS                      )
 aka SAID OLD SCHOOL,                        )
 aka CED, aka POLITICIAN                     )

                        PRELIMINARY ORDER OF FORFEITURE

       This matter is before the Court on the United States’ motion for preliminary order of

forfeiture. (Doc. 325). Based on the superseding indictment, the defendant’s written plea agreement

and factual resume, (Docs. 243, 302), the motion is GRANTED. It is therefore:

       ORDERED, ADJUDGED AND DECREED, that pursuant to Title 21, United States

Code, Section 853, Title 28 United States Code § 2461(c) and Fed. R. Crim. P. 32.2(b), the interest

of the defendant, Cedric Darnell Williams, aka Said Old School, aka Ced, aka Politician, in the

property identified as follows is hereby condemned and forfeited to the United States for

disposition according to law:

       1. One Kimber .380 pistol, serial number P0106565; and

       2. Seven rounds of ammunition.

       AND WHEREAS, by virtue of said guilty plea, plea agreement and factual resume, the

United States is now entitled to, pending possible appeal herein, reduce the said property to its

possession and notify all potential third parties who have or may have an interest in the forfeited

property, pursuant to Title 21, United States Code, Section 853, Title 18 United States Code §

924(d) and Fed. R. Crim. P. 32.2(b):

NOW THEREFORE, IT IS HEREBY ORDERED, ADJUDGED AND DECREED:

        That based on the foregoing and Fed. R. Crim. P. 32.2(b), the above-described property
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is hereby forfeited to and vested in the United States of America for disposition in accordance

 with law, subject to the provisions of Title 21, United States Code, Section 853(n).

        That the aforementioned property is authorized to be held by the Federal Bureau of

 Investigation or other authorized federal agency in their secure custody and control and to

 dispose of it in accordance with law.

        Pursuant to 21 U.S.C. § 853(n)(1) and the Attorney General’s authority to determine the

 manner of publication of an order of forfeiture in a criminal case, the United States shall publish

 notice of this Order on an official government internet site (www.forfeiture.gov) for at least 30

 consecutive days.

        In accordance with Section 853(n)(1)-(3), the notice shall accomplish at least the
 following:
        ●       provide notice of the entry of this order;
        ●       declare the United States’ intent to dispose of the property in such manner
                as the Attorney General may direct; explain that any person, other than the
                defendant, having or claiming a legal interest in any of the above-described
                forfeited property must file a petition with the Court within 60 days of the
                first date of publication of notice (which date shall be set forth in the
                notice);
        ●       provide the Clerk’s address for filing of the petition;
        ●       explain that the petition shall be signed by the petitioner under penalty of
                perjury; and
        ●       explain that the petition shall set forth the nature and extent of the
                petitioner’s right, title or interest in the forfeited property, the time and
                circumstances of the petitioners’ acquisition of the right, title, or interest,
                and any additional facts supporting the petitioner’s claim and the relief
                sought.




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        Pursuant to Fed. R. Crim. P. 32.2(b)(6)(A), the United States must also send notice to any

person who reasonably appears to be a potential claimant with standing to contest the forfeiture in

the ancillary proceeding.

        Pursuant to Section 853(n)(1), the United States may also, to the extent practicable, provide

direct written notice to any person known to have alleged an interest in the property that is the

subject of the order of forfeiture, as a substitute for published notice as to those persons so notified.

        After the disposition of any motion filed under Fed. R. Crim. P. 32.2(c)(1)(A), and pursuant

to Fed. R. Crim. P. 32.2(c)(1)(B), discovery may be conducted prior to a hearing on a petition in

accordance with the Federal Rules of Civil Procedure, upon showing that such discovery is

necessary or desirable to resolve factual issues.

        The United States shall have clear title to the above-described firearm and ammunition

following the Court’s disposition of all third-party interests, or, if none, following the expiration

of the period provided in Section 853(n)(2) for the filing of third-party petitions. Pursuant to Fed.

R. Crim. P. 32.2(c)(2), if no third-party files a timely petition this Order becomes the final order

of forfeiture, and the United States shall file a motion requesting that this Order become the final

order of forfeiture.

        Pursuant to Fed. R. Crim. P. 32.2(b)(4)(A) and (B), this preliminary order of forfeiture shall

become final as to the defendant at the time of sentencing and shall be made part of the sentence

and judgment.

        The Court shall retain jurisdiction to enforce this Order, and to amend it as necessary,

pursuant to Fed. R. Crim. P. 32.2(e).

        DONE and ORDERED this 3rd day of February 2025.


                                               /s/Terry F. Moorer
                                               TERRY F. MOORER
                                               UNITED STATES DISTRICT JUDGE

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